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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                   Judge William J. Martínez

   Date:             April 10, 2019
   Courtroom Deputy: Anna Frank
   Court Reporter:   Mary George


    Civil Action No. 16-cv-2304-WJM-GPG                         Counsel:

    MEGAN MCFADDEN,                                             Laura Wolf
    LONNIE WHITE, and                                           Siddhartha Rathod
    ANTONIO “A.J.” WHITE,                                       Harlan Norby

           Plaintiffs,

    v.

    MEEKER HOUSING AUTHORITY,                                   Jon Sands
                                                                Marilyn Chappell
                                                                Reagan Larkin

           Defendant.


                                     COURTROOM MINUTES


   Final Trial Preparation Conference

   1:33 p.m.      Court in session.

   Appearances of counsel.

   Opening remarks by the Court.

   Discussion held regarding pending motions, opening statements, stipulations of facts,
   the Court’s procedures for deposition designations, counsel table rosters, witness lists,
   exhibit lists, trial length, modified trial clock, voir dire, jury instructions, and the Court’s
   practice standards.

   The Court reserves 5 days for trial. Each side shall have 20 minutes for voir dire and 20
   minutes for opening statements.
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   ORDERED: Any updated stipulations of facts shall be filed and emailed to chambers
            no later than April 24, 2019. If no updated stipulations of facts are filed,
            the stipulated facts in the final pretrial order will be read to the jury.

   Discussion held regarding the strict enforcement of the WJM Revised Practice
   Standards related to deposition designations as stated on the record.

   ORDERED: On or before April 29, 2019, each side shall submit to chambers, via
            email, a roster identifying by name and capacity at trial everyone who will
            be at counsel tables.

   ORDERED: The parties shall meet and confer face-to-face by no later than April 24,
            2019, to eliminate exhibits which will not be used and eliminate duplicative
            exhibits, as stated on the record. Revised Final Trial Exhibit List shall be
            filed on or before April 30, 2019.

   Discussion held regarding Plaintiffs’ Proposed Amendments to Final Pre-Trial Order
   [ECF 475].

   ORDERED: Except for the Revised Final Trial Exhibit List deadline, the Court grants
            leave to file the First Amended Pretrial Order no later than April 19, 2019.

   ORDERED: Untimely jury instructions filed at ECF 473 and ECF 490 are stricken. The
            parties shall meet and confer face-to-face by no later than April 19, 2019
            to discuss the stipulated and disputed jury instructions. The parties shall
            file and email chambers a revised set of all stipulated and disputed jury
            instructions no later than April 26, 2019. New or revised disputed jury
            instructions will not be accepted by the Court, as stated on the record.

   ORDERED: A 5-day jury trial is set to commence at 8:30 a.m. on Monday, May 6,
            2019, in Courtroom A801.

   ORDERED: Trial briefs will not be accepted by the Court.

   ORDERED: Plaintiffs’ oral motion for witness Kenneth Harmon to appear via video
            conference at the Wayne Aspinall Courthouse located at 400 Rood
            Avenue, Grand Junction, Colorado 81502 is granted.

   ORDERED: Plaintiffs’ oral motion to reopen of the 30(b)(6) Deposition of Defendant
            Meeker Housing Authority limited to the topic of the advice of counsel
            defense as it pertains or relates to Ed Sands is granted. The deposition
            shall take place no later than April 25, 2019 and may not exceed 2 hours.

   Discussion held regarding damages claims.

   3:11 p.m.    Court in recess.
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   Total time in court: 1:38

   Hearing concluded.
